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                                                             Wednesday, 25 January, 2006 02:58:34 PM
                                                                        Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION
____________________________________________________________________________
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
      v.                                  )     Case No. 03-CR-20085
                                          )
THOMAS L. CANNON,                         )
                                          )
                  Defendant.              )

                                             OPINION

       On December 28, 2005, this court entered an Order (#96) and sentenced Defendant, Thomas

L. Cannon, to a term of life imprisonment. This Order followed the receipt of the mandate from the

Seventh Circuit (#94) which stated that the case was remanded “with instructions to impose a sentence

of life imprisonment.” An Amended Judgment (#97) was entered the same day.

       This court now concludes that this Order was improvidently entered. Rule 43(a) of the Federal

Rules of Criminal Procedure states that a defendant must be present at sentencing. Fed. R. Crim. P.

43(a)(3). The Rule further provides that a defendant need not be present when the “proceeding

involves the correction or reduction of sentence under Rule 35 or 18 U.S.C. § 3582(c).” Fed. R. Crim.

P. 43(b)(4). The exceptions do not apply here, and it is therefore necessary for Defendant to be

present when this court imposes the sentence mandated by the Seventh Circuit.

       This court also notes that Defendant was represented by Tiffani Johnson of the Federal

Defenders office of the Central District of Illinois. Ms. Johnson is now employed by the Federal

Defenders office of the District of Nevada. This court therefore appoints the Federal Defenders office

of the Central District of Illinois to represent Defendant so that a new attorney from that office can

be assigned to this case and represent Defendant at resentencing.
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       IT IS THEREFORE ORDERED THAT:

       (1) This court’s Order (#96) and the Amended Judgment (#97) entered on December 28, 2005,

are hereby VACATED.

       (2) The Federal Defenders office of the Central District of Illinois is appointed to represent

Defendant at resentencing.

       (3) A telephone status conference is scheduled for February 3, 2006, at 1:30 p.m. so that a

sentencing hearing can be scheduled in this case.

                             ENTERED this 25th day of January, 2006

                                   s/ Michael P. McCuskey
                                  MICHAEL P. McCUSKEY
                                 CHIEF U.S. DISTRICT JUDGE




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